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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
                                                       Criminal Number 1:21-CR-238
vs.


Jessica Louise Bustle
Defendant
                   DEFENDANT’S POSITION PAPER WITH RESPECT
                              TO THE PRESENTENCE REPORT


       The defendant, by and through counsel, with respect to the sentencing factors and
material facts set forth in the presentence report dated July 6, 2021, prepared by Hana
Field, U.S. Probation Officer, states there are no factual objections to the report.
18 USC 3553(a) factors
       The 3553 factors support a sentence range of probation only. While the maximum
punishment in this matter is confinement of up to 6 months in custody and a $5000 fine,
the Defendant reiterates the following factors:
       1. The Defendant has no adult criminal record, outside of a traffic offense, that would
       imply future criminal conduct.
       2. The Defendant is gainfully employed and is a participating member of
       society.
       3. The Defendant caused no violence or damage to the US Capitol
       Building nor threatened any law enforcement officers during the January 6
       2021 encounter.
       4. A similarly situated Defendant, namely - US v. Anna Morgan-Lloyd
       received a probation only sentence for almost identical conduct.
       5. The Defendant promptly accepted responsibility and plead guilty
       when the opportunity to do so was offered by the government.
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                                        CONCLUSION


       WHEREFORE, the defendant prays that this Court sentence the defendant in
accordance with this position paper, to issue a probation only sentence and to grant any
further relief as may be appropriate.



                                             Respectfully submitted,


                                             ______________________________
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                                             Washington, DC 20006
                                             (202) 689-4439
                                             nabeel@ervinkibrialaw.com
                                             Attorney for Jessica Louise Bustle
         Case 1:21-cr-00238-TFH Document 32 Filed 07/15/21 Page 3 of 3




                             CERTIFICATE OF SERVICE
I HEREBY CERTIFY THAT a true copy of the foregoing was emailed to:
Assistant US Attorney – Michael Romano
Dcpdb_psi_documents@dcp.uscourts.gov
This 15th day of July 2021



                                         Respectfully submitted,


                                         ______________________________
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